                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           NO. 3:13-00051
                                               )           JUDGE SHARP
KENNETH WARD                                   )
JEANIN DIESTERHOFT                             )
JOSHUA THOMAS SLIZOSKI                         )
DEWAYNE JOHN BELLINI                           )


                                           ORDER

         Pending before the Court is SEALED MOTION (Docket No. 62).

         The motion is GRANTED and a status conference in this matter is hereby scheduled for

Wednesday, July 24, 2013, at 1:30 p.m.

         It is so ORDERED.


                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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